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                            IN THE UNITOAkkgSF*1111102CT COURT
                               FOR THINISTRICT OF MARYLAND

    UNITED STATES OF AMERICA
                                                             CBLUMAL NO. 3-1,s 0        _1 9_0 39 /
                      V.
                                                        * (Interstate Threatening
    STEPHEN LYLE ORBACK,                                  Communications, 18 U.S.C. § 875(c))

                      Defendant.
                                                   wwww w*

                                             INDICTMENT

                                              COUNT ONE

            The Grand Jury for the District of Maryland charges that:

            On divers occasions between on or about May 12, 2019, and on or about May 13, 2019,

    in the District of Maryland and elsewhere, the defendant,

                                      STEPHEN LYLE ORBACK,

    knowingly and willfully did transmit in interstate commerce from somewhere outside the State

    of Maryland, to the State of Maryland, threats to kill and injure other persons; to wit: the

    defendant made multiple telephone calls to an employee of the Rosh Pina Messianic

    Congregation, Owings Mills, Maryland, known to the Grand Jury, and threatened to kill many

    members of that Jewish congregation.

    18 U.S.C. § 875(c)



                                                             Robert K. Hur
                                                             United States Attorney
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    FOR PERSON                                               Date
